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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )                   CASE NO. 8:08CR377
                                                  )
                       Plaintiff,                 )
                                                  )                         ORDER
v.                                                )
                                                  )
THOMAS BRYANT,                                    )
                                                  )
                       Defendant.                 )

       THIS MATTER is before the Court on Defendant’s Motion to Modify Conditions of Pretrial

Release [120]. The Court finds said motion should be granted.

       ACCORDINGLY, IT IS SO ORDERED:

       1.      The Defendant’s Motion to Modify Conditions of Pretrial Release [120] is granted.

       2.      The Defendant shall be allowed to travel to Muncie, Indiana departing Georgia on

November 24, 2009 and returning on November 29, 2009.              The Defendant shall provide the

supervising officer in the Middle District of Georgia with his complete itinerary prior to departure.

       3.      Defendant shall be allowed to resume his occupation as an over-the-road truck driver.

Defendant shall submit a job-related travel itinerary as requested by his supervising officer in the

Middle District of Georgia.

       DATED this 18th day of November, 2009.




                                                BY THE COURT:




                                                s/ F. A. Gossett
                                                United States Magistrate Judge
